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UNAUTHORIZED ITENLS WITHIN INMATE MAIL
                                                                                                                      ~~
                                                                           1819 Notification of Disapproval
If mail contains these items, it will result in an issuance of a CDC Form
• No Peel & Seal, padded, cazdboard or bubble wrap envelopes.
• No cardstock, sketch pads, conshvction paper or colored paper.
•No musical greeting cards, videos, CD's,or cassette tapes.
• No cash. No pens, pencils, or markers.
•Nn idenrification cazds, credit cazds, bank cards, phone cards, etc.
                                                                              depicting drugs and/or drug
 • No polaroid photogaphs, negatives, slides, or photo albwns. No photos
                                                                                   frontal nudity of either gender.
   paraphernalia. No photos, drawings, magazines, andlor pictorials displaying                                         AUTHORIZED ITEMS WITHIN INMATE MAIL
                                                                                 acts.
   Nothing which depicts, displays, or describes sexual penehation or sexual                                                                                                                date)
                                                                                                                       •40 postage stamps/40 envelopes(Prepaid postage must not show the
 •No gang affiliated material, hand gestures, or signs.
                                                                                    stickers, glue and/or glitter.     • Letters/greeting cards
 •No items of clothing, food, hard plastic, metal, wood items, magnets, rubber,
                      or tracing  patterns.  No  jewelry.                                                              • 10 photographs(no larger than 8" x 10")
 •No tattoo  patterns
                                                                                                                       • Checks/money order with Inmate's name and CDC#
 •ido mail containing unknown substance, any powder, liquid and/or solids.
                                                                                                                       • Writing paper (wlilte/yellow lineA only)
  • No unauthorized correspondence between inmates/parolees.                                                                                                                             from vendor
                                                                   envelope.                                           • Publications(books, magazines, newspapers)MUST come directly
  • No lipstick, perfume, cologne, and scents on the contents or
                                                                         of tUe institution, or any                    •For funds to be mailed directly to Inmates account, send through
  • No items which may be deemed a threat to the safety and security
                                                                       procedures.                                        wu~w.j~.wm or(800)574-5729
    coaespondence deemed circumvention of the mail policies and
  • All incoming mail must have fiill return address.
                                                                                                                                                                                                       Case 2:18-cv-01832-SVW-JC Document 8 Filed 04/30/18 Page 3 of 3 Page ID #:76
